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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION                             FILED
UNITED STATES OF AMERICA,
                                             CR 11-57-M-DWM
                         Plaintiff,

            vs.                              FINDINGS & RECOMMENDATION
                                             CONCERNING PLEA


SHAWN ANTHONY SWOR,

                         Defendant.


      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of Investment Fraud in violation

of 18 U.S.c. § 1343 (Count II), as set forth in the Indictment. In exchange for

Defendant's plea, the United States has agreed to dismiss Counts I, III, and IV of

the Indictment.

      After examining the Defendant under oath, J have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,

      2. That the Defendant is aware ofthe nature of the charge against him and

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consequences of pleading guilty to the charge,

      3. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offense charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision ofthe agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of Count II of

the Indictment, and that sentence be imposed. I further recommend that Counts I,

III, and IV of the Indictment be dismissed.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

      DATED this 1st day of May, 2012.




                                            iah C. Lynch
                                       U Ited States Magistrate Judge

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